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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 18-cv-23100-UU

 MOHAMMAD, et al.,

         Plaintiffs,

 v.

 DISCOVER BANK, et al.,

         Defendants.
                                                     /

                                             ORDER

         THIS CAUSE comes before the Court upon the Joint Stipulation to Arbitrate Claims and

 Stay Case (D.E. 13). It is hereby

         ORDERED AND ADJUDGED that the case is stayed pending conclusion of arbitration,

 at which time the parties SHALL either move to reopen the case or file a stipulation of dismissal.

 It is further

         ORDERED AND ADJUDGED that the case is CLOSED for administrative purposes.

 All hearings are CANCELLED; all motions DENIED AS MOOT.

         DONE AND ORDERED in Chambers at Miami, Florida, this _5th_ day of September,

 2018.



                                                     __________________________________
                                                      UNITED STATES DISTRICT JUDGE

 cc: counsel of record via cm/ecf
